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AO 450 (SCD 04/2010) Judgment in a Civil Action
                                            UNITED STATES DISTRICT COURT
                                                       for the
                                                District of South Carolina

 Raymond A. Wedlake, as a Member of Woodington
         Homeowners' Association, Inc.,
                   Plaintiff
                       v.                                   )       Civil Action No.       6:20-cv-02085-DCC
                                                            )
                                                            )
                                                            )
                                                            )
  The State of South Carolina, as Represented by the
     Honorable Alan Wilson, Attorney General,
                      Defendant

                                          JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)            recover from the defendant (name)                the amount of          dollars ($    ),
which includes prejudgment interest at the rate of     %, plus postjudgment interest at the rate of     %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                     .
O other: the plaintiff, Raymond A. Wedlake, shall take nothing of the defendant; The State of South Carolina, as to the
complaint filed pursuant to 28 U.S.C. 2201 and the motion to dismiss is granted.

This action was (check one):

O decided by the Honorable Donald C. Coggins, Jr., United States District Judge, presiding, adopting the Report and
Recommendation set forth by the Honorable Jacquelyn D. Austin, United States Magistrate Judge, which recommended
granting the defendant’s motion to dismiss.

Date: October 16, 2020                                            ROBIN L. BLUME, CLERK OF COURT




                                                                             Signature of Clerk or Deputy Clerk
